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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
VERENA RIVERA-POWELL , FRANCESCA
CASTELLANOS, GEORGINA SANCHEZ
and MARIE SIERRA                                                           Civil Action Number
                                                                           06 Civ. 6843
                                           Plaintiffs,

                 -against-                                                 MOTION TO
                                                                           INTERVENE
THE NEW YORK CITY BOARD OF ELECTIONS
and THE STATE OF NEW YORK,


                                            Defendants.
--------------------------------------------------------------------x
         PROPOSED DEFENDANT-INTERVENOR’S MOTION TO INTERVENE

        Pursuant to Rules 24(a)(2) and 24(b)(2) of the Federal Rules of Civil Procedure,
FRANKLIN HESS ( the "Proposed Intervenor") respectfully moves for leave to intervene as a
defendant in this action for the reasons set forth in the attached Memorandum. A copy of the
Proposed Intervenor’s Affidavit and Answer, which sets forth the claim or defense for which
intervention is sought, is attached to this Motion.


                                           GROUNDS FOR INTERVENTION


A. Intervention as of Right
        Pursuant to Federal Rule of Civil Procedure 24(a)(2), Proposed Intervenor is entitled to
intervene in this action as a matter of right because:
        1.       His Motion is timely.
        2.       Proposed Intervenor has a legally protectable interest in the subject of this action.
                 Proposed Intervenor is a duly qualified voter of the State of New York, residing at
                 and entitled to vote from 720 Fort Washington Avenue, N.Y., N.Y. in the 7th
                 Municipal Civil Court District in the County of New York. Pursuant to Election
                 Law Section 6-154 (2), Proposed Intervenor timely filed written objections to the
                 designating petition of Plaintiff Verena Rivera Powell with the Board of Elections
                 in the City of New York and timely filed specifications of the grounds of those
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              objections. Proposed Intervenor also served and filed an order to show cause and
              petition seeking to invalidate the designating petition of Verena Rivera Powell in
              New York County Supreme Court and was a named Respondent in the purported
              validating petition proceeding filed by Verena Rivera Powell in New York County
              Supreme Court, and duly filed a Verified Answer to said “petition”, a cross motion
              to dismiss said petition and an offer of proof , as required by the Special Election
              Matter Rules of the New York County Supreme Court. Franklin Hess seeks to
              intervene in the instant proceedings to defend his rights as a duly qualified resident
              and voter of the 7th Municipal Civil Court District of New York County.
       3.     Proposed Intervenor’s interests will be substantially impaired or impeded if he is
              not permitted to intervene.
       4.     The existing parties do not adequately represent Proposed Intervenor’s interest in
              this action because the other parties to the proceedings are primarily concerned
              with defending the entire statutory scheme complained of by Plaintiffs. They are
              thus concerned with the rights of New York voters who reside in all parts of the
              State, not specifically with the rights of those voters who reside in the 7th
              Municipal Civil Court District of New York County.
B.     Permissive Intervention
       In the alterative, if Proposed Intervenor’s Motion to Intervene as of right is denied,
Proposed Intervenor should be granted permissive intervention pursuant to Federal Rule of Civil
Procedure 24(b)(2), because:
       1.      Intervention by Proposed Intervenor will not unduly delay or prejudice the
              adjudication of the rights of the original parties.
       2.      The factual and legal issues raised in the Proposed Intervenor’s Answer are
              common to those raised in the action now pending before this Court in which
              intervention is sought.


Accordingly, Proposed Intervenor’s Motion should be granted in all respects.
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                                     RECORD ON MOTION
        This Motion is based on this document, the Certificate of Service, the supporting
Memorandum of Law, the Affidavit of Franklin Hess, the proposed Answer in Intervention, and
on all of the papers and records on file in this action.
DATED this 21st       day of September, 2006.


                                                Respectfully submitted,


                                                ARTHUR W. GREIG (AG2755)
                                                Attorney for Proposed Intervenor
                                                401 BROADWAY, SUITE 1902
                                                NEW YORK, N.Y. 10013
                                                (212) 941-0230
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                                CERTIFICATE OF SERVICE
       I hereby certify that on this day I served the foregoing Proposed Defendant- Intervenors’
Motion to Intervene, Memorandum of Law in Support of Proposed Defendant- Intervenors'
Motion to Intervene, and Proposed Defendant-Intervenors’ Answer in Intervention on the
following persons by causing true copies thereof to be mailed (unless otherwise indicated below)
to:


STEPHEN T. MITCHELL
STEPHEN T. MITCHELL, P.C.
67 WALL STREET, SUITE 2211
NEW YORK, N.Y. 10005


CORPORATION COUNSEL OF THE CITY OF NEW YORK
100 CHURCH STREET
NEW YORK, NY 10007
BY ASSISTANT CORP. COUNSEL STEPHEN KITZINGER, ESQ.
FOR THE BOARD OF ELECTIONS IN THE CITY OF NEW YORK


JOEL GRABER, ESQ.
NEW YORK STATE DEPARTMENT OF LAW
120 BROADWAY
NEW YORK, NY


DATED this 21ST day of September , 2006



______________________________
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